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                                                                                                                                                                                                                     Victim: Philip Martin
                                                                                                                                                                                                                     SA: Akihito Yamamoto- Sta Ana
                                                                                                                                                                                                                     Wallet address : 0x4acaC9aE6A00e6f0DeDf7cc2d5dB2ABAee2aaaFC
                                                                                                                                                                        A1
                                                                                                                                                               Victim- Martin, Philip
                                                                                                                                          Coinbase Account #0x4acac9ae6a00e6f0dedf7cc2d5db2abaee2aaafc
                                                                                                                                                                      41 ETH




                                                                                                                                                                Scammer's wallet




                                                                                                                                                               12/21/2021- 40.997711 ETH




                                                                                                                                  12/21/2021                                                            12/21/2021


                                                                                                     A3                                                               A2                                                0xcc470dc70139afff9ffb73e3cd6a9ea2ebbc67bd
                                                                                0xbdcf65c9c118b75fe6ff288370b7d2a46dc61eb3                        0xa766cf8e30f4ef54bed6f2ecf7451486d8aa2c21                                     36.376697313094978 Ether
                                                                                          3.3011258249900402 ETH


                                                                                                                                                                                                                                               12/21/2021
                                                                                                                                                                   12/21/2021

                                                                          12/21/2021



                                                                                                                                                                                                                                   0x6251b3144b5e18682b553a3ccf2ff90fc110ecc6
                                                                                                                                                                                                                                            0.248897384586282 Ether
                                                                                                                                                                  B1
                                                                   A4                                                                          0x6251b3144b5e18682b553a3ccf2ff90fc110ecc6                                                               12/21/2021
                                              0xa35f5306e3e3a5f3eb88e8b75d7040a3d104dc7d                                                                1.314329360079879 Ether
                                                        3.299277086299967 Ether

                                                12/21/2021

                                                                                                                                                                                                                                         0xcc470dc70139afff9ffb73e3cd6a9ea2ebbc67bd
                                                                                                                             12/21/2021                                                    12/21/2021                                             5.171742098980867 Ether


                    0x7db77e4c967c95a5a9e2ec57ec21788dab481893
                                                                                                                                                                                                                                                                     12/22/2021
                              3.311479383299967 Ether




                                       12/21/2021
                                                                                                          B1                                                                                          B2                                               0xf5b3ddb2ed34a24aae39d3d55e71813b6c988e54
                                                                                                 Metamask: Swap Router                                                                        Fantom: FTM Token                                                          40 Ether
                                                              Transaction Hash: 0x51ba0e46d56832c8e56aa94620b741958aa1de9f4c93c2221dec24a5777e971c            Hash ID: 0x90233a691ff3d422d2e6f68f8fb2b972d8ad082ae267326a13a7428b7219b67a
                                                                                Contract: 0x881d40237659c251811cec9c364ef91dc08d300c                                    Wallet Address: 0xdf54169bdffb85f553b19a87ed378dad4e8a3597
                                                                                                                                                                                                                                                                                  12/22/2021
                                                                                                      1.32 Ether                                                                               10,098.2952 FTM




                                            E2
                                         Binance                                                                                                                                                                                                                                 E4
Transaction Hash: 0x24c441beb838e03bc9c819a63fe7f7014c59370459384f56d5e7e75f52dd2ee5                                                                                                                                                                                          Binance
                    To: 0x28c6c06298d514db089934071355e5743bf21d60                                                                                                                                                                    TransactionHash:0x42aada85ae261e2dde6147dd588ce44edd4e42a726578f229ab804a1c10797af
                         26.305320134329486241 Ether ($80,799.16)                                                                                                                                                                                        To: 0x28c6c06298d514db089934071355e5743bf21d60
                                                                                                                                                                                                                                                                              40 Ether




                                                                                                                                                Page 1 of 1                                                                                                                            Attachment A
                                                                                                                                                                                                                                                                                               Exhibit 1
